
Coffin, S.
Although it may have little bearing upon the final result of this case, it is proper that, in the outset, the objection to the testimony of the Rev. Dr. Tood should be considered and disposed of. It seemed to be conceded that, if this will were established, he would be deprived of his legacy under Caroline’s will; but the latter is contested, and it is yet uncertain whether it will be admitted to or refused probate. This element of uncertainty rendered him competent to testify to Mary’s declarations. To render him incompetent, his interest must be a present, certain and vested one, and not- an interest uncertain, remote or contingent. Hobart v. Hobart, 62 N. Y., 80. The objection taken is, therefore, overruled, and the testimy is received as taken. Any declarations made by Caroline, in the absence of Mary, must be disregarded, and it was so stated during the progress of the case.
It is not proposed here to enter into a minute examination of the testimony bearing upon the merits of the case, nor to pass judgment upon the amount of faith to be reposed in the somewhat remarkable evidence given by the proponent himself. In spite of the mists in which it is shrouded by his testimony, by the aid of other facts it seems very clear that the will in question was properly executed by a competent testatrix. By some of her letters and by oral evidence, it appears that she wished the fact of her having made a will to be kept from the knowledge of her sister. Her subsequent declarations in Caroline’s presence of an intention to make a will, and of the disposition she would make of certain articles, were evidently intended to confirm her sister in the belief that none had been made:- ' It is unimportant, perhaps, to know what her reasons therefor were, nor is it needful to speculate upon the effect a contrary course might have had in the way of avoiding litigation.
The usual decree admitting the will to probate will be entered, with costs to the proponent out of the fund.
